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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

BRYNHILL INVESTMENTS, LLC, and                  §
STONEHILL INVESTMENTS, LLC,                     §
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §     CASE NO.:      ________________________
                                                §
NTENT, INC., PATRICK CONDO, and                 §
MATTHEW G. JONES,                               §
                                                §
       Defendants.                              §

                                    NOTICE OF REMOVAL

       Defendant NTENT, Inc. (“NTENT”), pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and

with the consent of Defendants Patrick Condo (“Condo”) and Matthew G. Jones (“Jones”), hereby

gives notice of the removal of this action from the District Court of Dallas County, State of Texas

to the United States District Court for the Northern District of Texas, Dallas Division. As grounds

for removal, NTENT states as follows:

                                      I.     INTRODUCTION

       1.      On September 28, 2021, Plaintiffs Brynhill Investments, LLC (“Brynhill”) and

Stonehill Investments, LLC (“Stonehill”) filed their Original Petition in the 101st Judicial District

Court of Dallas County, Texas, styled Brynhill Investments, LLC and Stonehill Investments, LLC

v. NTENT, Inc., Patrick Condo, and Matthew G. Jones, Cause No. DC-21-14426.

       2.      On November 1, 2021, NTENT was served a copy of Plaintiffs’ Original Petition

through the Texas Secretary of State.




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                                            II.       VENUE

       3.      The United States District for the Northern District of Texas, Dallas Division,

embraces Dallas County, Texas, the county in which the state court action is now pending.

Therefore, under 28 U.S.C. §§ 124(a)(1) and 1441(a), venue may be held in this Court subject to

any grounds for dismissal for lack of jurisdiction, or transfer of venue under 28 U.S.C. § 1404.

                                  III.    BASIS FOR REMOVAL

       4.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332

by virtue of the Parties’ complete diversity of citizenship and the amount in controversy.

       5.      Diversity of Citizenship:      There is complete diversity of citizenship between

the Parties in this action as required by 28 U.S.C. § 1332:

               a.      Plaintiff Brynhill:     According to Plaintiffs’ Original Petition, Brynhill is
                       a Nevada limited liability company with principal offices in Texas. Because
                       Brynhill is a limited liability company, its citizenship is determined by the
                       citizenship of its members. Based on information and belief, the members
                       of Brynhill are citizens of Nevada and Texas. Thus, Brynhill is a citizen of
                       Nevada and Texas.

               b.      Plaintiff Stonehill:    According to Plaintiffs’ Original Petition, Stonehill
                       is a Nevada limited liability company with principal offices in Texas.
                       Because Stonehill is a limited liability company, its citizenship is
                       determined by the citizenship of its members. Based on information and
                       belief, the members of Stonehill are citizens of Nevada and Texas. Thus,
                       Stonehill is a citizen of Nevada and Texas.

               c.      Defendant NTENT: NTENT is a Delaware corporation with its principal
                       office in Virginia. A corporation is a citizen of both the state of
                       incorporation and the state of its principal place of business. Thus, NTENT
                       is a citizen of Delaware and Virginia.

               d.      Defendant Condo:         Condo was, at the commencement of this action, and
                       is presently, a citizen and resident of Virginia.

               e.      Defendant Jones:         Jones was, at the commencement of this action, and
                       is presently, a citizen and resident of Virginia.




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       6.        Amount in Controversy:       The amount in controversy exceeds $75,000.00,

exclusive of interest and costs. Plaintiffs state in their Original Petition that they seek monetary

relief in excess of $1,000,000. Accordingly, removal is proper based on the amount in controversy.

       7.        Timeliness:   This Notice of Removal is filed within thirty (30) days of the date

that NTENT was served with Plaintiffs’ Original Petition. Therefore, this removal is timely under

28 U.S.C. § 1446(b).

       8.        Consent:      Pursuant to 28 U.S.C. § 1446(b)(2), Defendants Condo and Jones

consent to NTENT’s removal of this action.

       9.        Removal is proper because the Parties are completely diverse in citizenship, the

amount in controversy exceeds $75,000.00, the removal is timely, and Defendants Condo and

Jones consent to the removal. Thus, NTENT may remove this action to the Northern District of

Texas, Dallas Division, pursuant to 28 U.S.C. § 1441.

       10.       To the extent Plaintiffs purport to assert state law claims, this Court may assert

supplemental jurisdiction over such claims pursuant to 28 U.S.C. § 1367.

                               IV.    RESERVATION OF DEFENSES

       11.       Because this Notice of Removal is neither a responsive pleading nor a motion under

Rule 12 of the Federal Rules of Civil Procedure, NTENT has not waived the right to assert any

applicable defenses by removing this action from state court. Rule 12 of the Federal Rules of Civil

Procedure provides that every defense to a claim for relief in any pleading shall be asserted in the

responsive pleading or by motion. See Fed. R. Civ. P. 12(b). NTENT therefore reserves its right

to assert any applicable defenses under Rule 12 of the Federal Rules of Civil Procedure and 28

U.S.C. § 1404.




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                    V.     PROCEDURAL REQUIREMENTS FOR REMOVAL

       12.     Pursuant to 28 U.S.C. § 1446(a) and Northern District of Texas Local Rule 81.1,

the following items are being filed as exhibits to this Notice of Removal:

               a.        An index of all documents that clearly identifies each document being filed

                         and the date the document was filed, attached hereto as Exhibit A;

               b.        A copy of the docket sheet in the state court action, attached hereto as

                         Exhibit B;

               c.        Each document filed in the state court action, attached hereto as Exhibits

                         C-1 to C-12; and

               d.        A separately signed certificate of interested persons that complies with

                         Local Rules 3.1(c), 3.2(e), 81.1(a)(4)(D) and 81.2, attached hereto as

                         Exhibit D.

       13.     Pursuant to 28 U.S.C. § 1446(d), NTENT is also promptly filing written notice of

filing this Notice of Removal, and a true and correct copy of this Notice of Removal with the clerk

of the 101st Judicial District Court of Dallas County, Texas, and is serving Plaintiffs with copies

of the same.

       WHEREFORE, by this Notice of Removal, Defendant NTENT, Inc. hereby removes this

action from the District Court of Dallas County, State of Texas to the United States District Court

for the Northern District of Texas, Dallas Division, and respectfully requests that this action

proceed as properly removed to this Court.




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Dated: December 1, 2021                             Respectfully submitted,

                                                    BAKER & HOSTETLER LLP

                                                    /s/ L. David Anderson
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                                                    ATTORNEYS FOR DEFENDANTS
                                                    NTENT, INC., PATRICK CONDO,
                                                    AND MATTHEW G. JONES


                                CERTIFICATE OF SERVICE

       In accordance with the Federal Rules of Civil Procedure, I hereby certify that on this 1st
day of December, 2021, a true and correct copy of the foregoing was served via electronic mail
and through the Court’s CM/ECF system on the following:

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                                                    /s/ L. David Anderson
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